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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES           §
INNOVATIONS, LLC,                      §
                Plaintiff,             §                 C.A. No. 2:15-cv-1877-JRG-RSP
v.                                     §                          LEAD CASE
                                       §
AMERICAN HONDA MOTOR CO., INC.,        §
et al.,                                §
                  Defendants.          §
______________________________________ §
                                       §
ROTHSCHILD CONNECTED DEVICES           §
INNOVATIONS, LLC,                      §
 .                Plaintiff,           §                C.A. No. 2:15-cv-01979-JRG-RSP
v.                                     §                   CONSOLIDATED CASE
                                       §
TOYOTA MOTOR SALES USA, INC.,          §
                  Defendant.           §


                                             ORDER

       On this day the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s Unopposed Motion to Dismiss Toyota Motor Sales USA, Inc. It is therefore ORDERED

that all claims by and between these parties are hereby DISMISSED WITH PREJUDICE, with

each party to bear its own costs, expenses and attorneys’ fees.
         SIGNED this 3rd day of January, 2012.
        SIGNED this 2nd day of September, 2016.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
